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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------------x
 In re:                                                                    Chapter 7

 HRH CONSTRUCTION LLC, et al.,                                             Case No.: 09-23665 (RDD)
                                                                           (Jointly Administered)
                                        Debtor.
 ----------------------------------------------------------------------x

                         STIPULATION AND AGREED ORDER GRANTING CLAIMANT
                       PARTIAL RELIEF FROM THE AUTOMATIC STAY TO CONTINUE AN
                          ACTION AGAINST THIRD PARTY INSURANCE PROCEEDS

          This Stipulation and Agreed Order (this “Stipulation”) is entered into by and between

 Marianne T. O'Toole, the chapter 7 trustee (the “Trustee”) of HRH Construction LLC, et al.

 (collectively, the “Debtors”), and 700 Grove Street Condominium Association, Inc., (the

 “Claimant”)1, by and through their respective undersigned counsel, granting partial relief from the

 automatic stay to continue an action against third party insurance proceeds.

          WHEREAS, on September 6, 2009, the Debtors filed voluntary petitions for relief under

 chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”); and

          WHEREAS, on or about April 7, 2011, these cases were converted to cases under chapter

 7 of the Bankruptcy Code and Marianne T. O'Toole was appointed as the chapter 7 trustee of the

 Debtors’ cases; and

          WHEREAS, on June 2, 2014, the Claimant filed a complaint (the “Complaint”) in the

 United States District Court for the District of New Jersey entitled 700 Grove Street Condominium

 Association, Inc. v. Selective Insurance Company of America, 14-cv-03501-SRC-CLW (the

 “Construction Litigation”) against the developer, architects, engineers, contractors and other

 professionals responsible for the design and construction of a residential condominium

 development known as 700 Grove Street Condominium (the “Condominium”), alleging

 deficiencies in the design and construction thereof; and
 1
   Nothing contained herein is intended to be or should be construed as an admission of any fact, claim, right or defense
 that any of the Debtors may have with respect to the allegations related to the Claimant and all such rights, claims and
 defenses are hereby expressly reserved.




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        WHEREAS, on June 24, 2016, the Claimant filed a Second Amended Complaint in the

 Construction Litigation, naming HRH Construction, LLC (“HRH”), one of the Debtors, as a

 defendant alleging that HRH breached its duty to exercise reasonable care in its work resulting in

 construction defects in the Condominium, which has damaged the Claimant (the “Alleged

 Damage”); and

        WHEREAS, on May 3, 2018, the Construction Litigation was moved to the Superior Court

 of New Jersey, Law Division, Hudson County, under Docket No. HUD-L-1724-18; and

        WHEREAS, upon commencement of the Debtors’ bankruptcy cases, the automatic stay

 came into effect prohibiting the Claimant from pursuing the Construction Litigation to recovery on

 account of the Alleged Damage; and

        WHEREAS, upon information and belief, at the time of the Alleged Damage, the Debtors

 were covered under an insurance policy issued by American Home Assurance Company, policy

 number 001979902, and may have other applicable insurance coverage with respect to its work at

 Condominium (collectively the "Insurance Policies"); and

        NOW, THEREFORE, it is hereby stipulated and agreed by each of the parties to this

 Stipulation, by their respective Counsel, which Stipulation when “so ordered” by a United States

 Bankruptcy Judge shall constitute an order and judgment of this Court with respect to the subject

 matter hereof as follows:

        1.      The automatic stay arising pursuant to Section 362 of the Bankruptcy Code shall be

 modified for the sole purpose of permitting the Claimant to continue the Construction Litigation to

 assert claims for the Alleged Damage; provided, however, that any recovery by the Claimant

 pursuant to the Construction Litigation, including costs, if any, and all recovery of punitive

 damages, if any, shall be limited solely to the proceeds available under the Insurance Policies.

 This provision shall not however prohibit the Claimant from recovery against any of the other

 defendants to the Construction Litigation.




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         2.      Other than as set forth in paragraph 1 hereof all protections afforded by Section 362

 of the Bankruptcy Code shall remain in full force and effect.

         3.      Neither this Stipulation, nor any actions taken pursuant hereto, shall constitute

 evidence admissible against the parties in any action as defined in Bankruptcy Rule 9002(1) other

 than one to enforce the terms of this Stipulation, including the Construction Litigation.

         4.      The Claimant shall not enforce any judgment that the Claimant may receive as a

 result of the Construction Litigation by reason of the Alleged Damage or otherwise, including but

 not limited to, damages, punitive damages and costs, against the assets of the Debtors and their

 present or former parent companies, subsidiaries, divisions, affiliates, predecessors, successors,

 assigns, principals, officers, directors, employees, agents, servants and attorneys, and their

 respective representatives, heirs, executors, personal representatives, administrators and assigns,

 and any and all persons, natural or corporate, in privity with them or acting in concert with them,

 except to the extent of proceeds available under the Insurance Policies.

         5.      The Claimant shall not file any claims against any of the Debtors’ estates in

 connection with the Alleged Damage.         In the event that the Debtors have scheduled, or the

 Claimant has filed, a claim against any of the Debtors’ estates, such claims (scheduled and/or filed)

 shall be deemed expunged without the need for any further action by the parties or order of the

 Bankruptcy Court.

         6.      Further, the Claimant hereby waives any claim against the Debtors to the extent of

 any deductible or other payment that may otherwise be required by the Debtors or from funds on

 deposit by HRH with Chartis Insurance pursuant to the terms of the Insurance Policies, or any

 Contractor Controlled Insurance Program or wrap up program of which the Insurance Policies may

 be part.

         7.      This Stipulation may be executed in one or more counterparts, each of which is

 deemed an original, together constituting one and the same document. Facsimile signatures and

 signatures in portable document format (.pdf) are deemed originals for purposes of this Stipulation.


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         8.      This Stipulation may not be altered, modified, or changed unless in writing, signed

 by the Parties or their counsel.

         9.      The person executing this Stipulation warrants and represents that she or he is

 authorized and empowered to execute and deliver this Stipulation on behalf of such Party.

         10.     The Bankruptcy Court shall retain jurisdiction to interpret, enforce and resolve any

 disputes arising under or related to this Stipulation.

 Dated: Jericho, New York
        May __, 2018
                                                 SILVERMANACAMPORA LLP
                                                 Attorneys for Marianne T. O’Toole,
                                                 the Chapter 7 Trustee



                                                 By:
                                                         Justin S. Krell, Esq.
                                                 Counsel to the Firm
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                                                 Jericho, New York 11753
                                                 (516) 479-6300

 Dated: Morristown, New Jersey
        May __, 2018
                                                 BECKER & POLIAKOFF LLP
                                                 Attorneys for 700 Grove Street
                                                   Condominium Association, Inc.



                                                 By:
                                                         Martin C. Cabalar, Esq.
                                                 1776 on the Green, 67 Park Place East, Suite 702
                                                 Morristown, New Jersey 07960
                                                 (973) 898-6502



 SO ORDERED BY THE COURT THIS
 16th DAY OF May, 2018


 /s/Robert D. Drain
 Honorable Robert D. Drain
 United States Bankruptcy Judge



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